         Case 2:20-cv-10018-AB-SK Document 14 Filed 11/20/20 Page 1 of 2 Page ID #:54

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                   Central District
                                                __________  DistrictofofCalifornia
                                                                         __________

                      Wesley Humpston,                              )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 2:20-cv-10018-KS
                                                                    )
                       Thomas Black;                                )
                       Anthony Hawk;
                                                                    )
                      The Berrics, LLC,
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Thomas Black
                                       Anthony Hawk
                                       The Berrics, LLC




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Hogan Ganschow
                                       Zhen Law Firm
                                       5670 Wilshire Blvd #1800
                                       Los Angeles, CA 90036



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:         11/20/20
                                                                                         Signature
                                                                                         Si
                                                                                          ignature of Clerk or Deputy Clerk
          Case 2:20-cv-10018-AB-SK Document 14 Filed 11/20/20 Page 2 of 2 Page ID #:55

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 Civil Action No. 2:20-cv-10018-KS

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
